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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
GREY OAKS COUNTRY CLUB, INC.,
Plaintiff,
Vv. Case No: 2:18-cv-639-FtM-99CM

ZURICH AMERICAN INSURANCE
COMPANY,

Defendant.

CASE MANAGEMENT AND SCHEDULING ORDER

Having considered the Case Management Report prepared by the parties, see Fed. R. Civ.

P, 26(f) and M.D. Fla. R. 3.05(c), the Court enters this case management and scheduling order:

 

 

 

 

 

 

 

 

 

 

Mandatory Initial Disclosures (pursuant to Fed.
R. Civ. P. 26(a)(1) as amended) December 28, 2018
Certificate of Interested Persons and Corporate
Disclosure Statement IMMEDIATELY
Motions to Add Parties or to Amend Pleadings February 1, 2019
Disclosure of Expert Reports Plaintiff: June 28, 2019
Defendant: July 26, 2019
Rebuttal:
Discovery Deadline September 16, 2019
Mediation Deadline: AUGUST 30, 2019
. Mediator: Brett J. Preston
Address: 101 E. Kennedy Blvd., Ste. 3700
Tampa, FL 33602
Telephone: 813-221-3900
Dispositive Motions, Daubert, and Markman October 25, 2019
Motions
Meeting Jn Person to Prepare Joint Final Pretrial January 17,2020
Statement

 
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Joint Final Pretrial Statement (Including a Single January 31, 2020

Set of Jointly Proposed Jury Instructions and

Verdict Form (a Word version should also be e-

mailed to the Chambers e-mail address listed on

the Court’s website), Voir Dire Questions,

Witnesses Lists, and Exhibit Lists on Approved

Form found on the Court’s website)

All Other Motions Including Motions Jn Limine, January 31, 2020

Trial Briefs (Bench Trials only)

Final Pretrial Conference Date: February 21, 2020
Time: 9:30 AM
Judge: John E. Steele

Trial Term Begins MARCH 2, 2020

[Trials Before Magistrate Judges Begin on Date

Certain]

Estimated Length of Trial 4 days

Jury/Non Jury Jury |

 

 

The purpose of this order is to discourage
wasteful pretrial activities, and to secure the just,
speedy, and inexpensive determination of the
action. See Fed. R, Civ. P. 1; M.D. Fla. R.
1.01(b). This order controls the subsequent
course of this proceeding. Fed. R. Civ. P. 16(b),
(e). Counsel and all parties (both represented and
pro se) shall comply with this order, with the
Federal Rules of Civil Procedure, and with the
Local Rules of the United States District Court
for the Middle District of Florida. Counsel shall
also comply with the Ideals and Goals of
Professionalism adopted by the Board of
Governors of the Florida Bar on May 16, 1990.
See 73 Florida Bar Journal 711- 13 (September
1999); M.D. Fla. R. 2.04(g).

L DISCOVERY

A. Certificate of Interested Persons and
Corporate Disclosure Statement — This Court
has previously ordered each party, governmental
party, intervenor, non-party movant, and Rule 69
garnishee to file and serve a Certificate of
Interested Persons and Corporate Disclosure
Statement using a mandatory form. No party may
seek discovery from any source before filing and
serving a Certificate of Interested Persons and
Corporate Disclosure Statement. A motion,
memorandum, response, or other paper —
including emergency motion — may be denied or
stricken unless the filing party has previously

filed and served its Certificate of Interested
Persons and Corporate Disclosure Statement.
Any party who has not already filed and served
the required certificate shall do so within
fourteen (14) days of the date of this order or
sanctions will be imposed.

B. Discovery Not Filed — The parties shall
not file discovery materials with the Clerk except
as provided in M.D. Fla. R. 3.03.

Cc. Limits on Discovery — The parties may
agree by stipulation on other limits on discovery
within the context of the limits and deadlines
established by this case management and
scheduling order, but the parties may not alter the
terms of this order without leave of Court. Fed.
R. Civ. P. 29.

Dz. Discovery Deadline — Each party shall
timely serve discovery requests so that the rules
allow for a response prior to the discovery
deadline. The Court may deny as untimely all
motions to compel filed after the discovery
deadline.

E. Disclosure of Expert Testimony — On
or before the date set forth in the above table for
the disclosure of expert reports, the party shall
fully comply with Fed. R. Civ. P. 26(a)(2) and
26(e). Expert testimony on direct examination at
trial will be limited to the opinions, basis, reasons,
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data, and other information disclosed in the
written expert report disclosed pursuant to this
order. Failure to disclose such information may
result in the exclusion -of all or part of the
testimony of the expert witness.

F. Confidentiality Agreements - The
parties may reach their own agreement regarding
the designation of materials as “confidential.”
There is no need for the Court to endorse the
confidentiality agreement. The Court
discourages unnecessary stipulated motions for a
protective order. The Court will enforce
stipulated and signed confidentiality agreements.
See M.D. Fla. R. 4.15. Each confidentiality
agreement or order shall provide, or shall be
deemed to provide, that “no party shall file a
document under seal without first having
obtained an order granting leave to file under seal
on a showing of particularized need.” See also
“Motions to File Under Seal” below.

IL. MOTIONS

A. Certificate of Good Faith Conference —
Before filing any motion in a civil case, the
moving party shall confer with counsel for the
opposing party in a good faith effort to resolve
the issues raised by the motion, and shall file with
the motion a statement certifying that the moving
party has conferred with opposing counsel, and
that counsel have been unable to agree on the
resolution of the motion. M.D. Fla. R. 3.01(g);
Fed. R. Civ. P. 26(c). No certificate is required
in a motion for injunctive relief, for judgment on
the pleadings, for summary judgment, to dismiss
or to permit maintenance of a class action, to
dismiss for failure to state a claim upon which
relief can be granted, or to involuntarily dismiss
an action. M.D. Fla. R. 3.01(g). Nevertheless,
the Court expects that a party alleging that a
pleading fails to state a claim will confer with
counsel for the opposing party before moving to
dismiss, and will agree to an order permitting the
filing of a curative amended pleading. Fed. R.
Civ. P. 10, 15. The term “confer” in Rule 3.01(g)
requires a substantive conversation in person or
by telephone in a good faith effort to resolve the
motion without court action, and does not
envision an exchange of ultimatums by fax or
letter. Counsel who merely “attempt” to confer
have not “conferred.” Counsel must respond

promptly to inquiries and communications from
opposing counsel. Board of Governors of the
Florida Bar, /deals and Goals of Professionalism,
73 Florida Bar Journal 712 - 13 ¢ 6.10 and Creed
of Professionalism § 8 (adopted May 16, 1990).
The Court may deny motions that fail to include
an appropriate, complete Rule 3.01(g) certificate.
Motions titled as “unopposed” or “agreed”
normally come to the Court’s attention prior to
the deadline for response. If the parties are in
agreement, counsel should consider whether an
unfiled stipulation is sufficient in lieu of a motion
seeking a Court order.

B. - Extension of Deadlines

1. Dispositive Motions Deadline
and Trial Not Extended — The Court cannot
extend a dispositive motion deadline to the eve of
trial. In light of the district court’s heavy felony
trial calendar, at least four months are required
before trial to receive memoranda in opposition
to a motion for summary judgment, and to
research and resolve the dispositive motion
sufficiently in advance of trial.

2. Extensions of Other Deadlines
Disfavored — Motions for an extension of other
deadlines established in this order, including
motions for an extension of the discovery period,
are disfavored. Failure to complete discovery
within the time established by this order shall not
constitute cause for continuance unless brought to
the attention of the Court at least sixty days in
advance of the beginning of the scheduled trial
term. The movant must show that the failure to
complete discovery is not the result of lack of
diligence in pursuing discovery. M.D. Fla. R.
3.09(b). The filing of a motion for extension of
time does not toll the time for compliance with
deadlines established by rule or order.

Cc. Motions to Compel and for Protective
Order — Motions to compel and motions for a
protective order will be denied unless the motion
fully complies with M.D. Fla. R. 3.04, requiring
the motion to quote in full each interrogatory,
question, or request; to quote in full opposing
party’s objection and grounds, or response which
is asserted to be insufficient; and to state the
reasons the motion should be granted.
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D. Motions to File Under Seal — Whether
documents filed in a case may be filed under seal
is a separate issue from whether the parties may
agree that produced documents are confidential.
Motions to file under seal are disfavored. The
Court will permit the parties to file documents
under seal only upon a finding of extraordinary
circumstances and particularized need. See
Brown vy. Advantage Engineering, Inc., 960 F.2d
1013 (Ith Cir. 1992); Wilson v. American
Motors Corp., 759 F.2d 1568 (11th Cir. 1985). A
party seeking to file a document under seal must
file a motion to file under seal requesting such
Court action, together with a memorandum of law
in support.

E. Emergency Motions — The Court may
consider and determine emergency motions at
any time. M.D. Fla. R. 3.01(e). Counsel should
be aware that the designation “emergency” may
cause a judge to abandon other pending matters
in order to immediately address the “emergency.”
The Court will sanction any counsel or party who
designates a motion as “emergency” under
circumstances that are not true emergencies. It is
not an emergency when counsel has delayed
discovery until the end of the discovery period.

F, Motions for Summary Judgment

1. Required Materials — A motion
for summary judgment shall be accompanied by
a memorandum of law, and a concise statement
of the material facts as to which the moving party
contends there is no genuine issue for trial in a
single document not more than 25 pages as
required by M.D. Fla. R. 3.01(a), along with
supporting affidavits. Each party opposing a
motion for summary judgment shall file and
serve, within fourteen (14) days after being
served with such motion, a legal memorandum
with citation of authorities as to which the
opposing party contends there exists a genuine
issue for trial and a concise statement of the
material facts in opposition to the relief
requested, in a single document limited to not
more than 20 pages, as required by M.D. Fla. R.
3.01(b), and shall include necessary affidavits.
Both the movant and the party opposing summary
judgment shall provide pinpoint citations to the
pages and lines of record supporting each
material fact. General references to a deposition

are inadequate. Material facts set forth in the
statement required to be served by the moving
party will be deemed admitted for the purposes of
the motion unless controverted by the opposing
party’s statement.

2. Under Advisement — The Court
takes a motion for summary judgment under
advisement twenty-one (21) days from the date it
is served, unless the Court orders a different date.
Until that date, the party opposing summary
judgment may file additional affidavits and
exhibits within the purview of Fed. R. Civ. P. 56
in opposition to the motion, but not additional
memoranda. Fed. R. Civ. P. 6(d) and 56(c); M.D.
Fla. R. 3.01(b). Unless specifically ordered, the
Court will not hold a hearing on the motion.
Failure to oppose any motion for summary
judgment may result in the entry of a judgment
for the movant without further proceedings. See
Milburn v. United States, 734 F.2d 762, 765 (11th
Cir. 1984); Griffith v. Wainwright, 772 F.2d 822,
825 (11th Cir. 1985) (per curiam), Fed. R. Civ. P.
56(e). All requirements in this order apply to pro
se litigants as well as to parties represented by
counsel.

G. Daubert and Markman Motions — On or
before the date established in the above table for
the filing of motions for summary judgment, any
party seeking a ruling pursuant to Daubert v.
Merrell Dow Pharmaceuticals, Inc., 509 U.S.
579 (1993) (admissibility of expert opinions) or
pursuant to Markman v. Westview Instruments,
Inc., 116 S. Ct, 1384 (1996) (interpretation of a
patent claim) shall file and serve an appropriate
motion. The parties shall prepare a glossary of
technical or scientific terms where appropriate for
the Court, court reporter, and trier of fact at any
hearing or trial.

H, All Other Motions Including Motions
In Limine — On or before the date established
above, the parties shall file and serve all other
motions including motions in limine. M.D. Fla.
R. 3.01(g) applies, and the parties shall confer to

define and limit the issues in dispute.

Wl. JOINT FINAL PRETRIAL
STATEMENT
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A. Meeting In Person — On or before the
date established in the above table, lead trial
counsel for all parties and any unrepresented
parties shall meet together in person pursuant to
M.D. Fla. R. 3.06(b) in a good faith effort to:

1. settle the case; the parties shall
thoroughly and exhaustively discuss settlement
of the action before undertaking the extensive
efforts needed to conduct final preparation of the
case for trial and to comply with the requirements
of this order;

2. stipulate to as many facts and
issues as possible; in order to assist the Court, the
parties shall make an active and substantial effort
to stipulate at length and in detail as to agreed
facts and law, and to limit, narrow, and simplify
the issues of fact and law that remain contested;
as a rule, parties who have complied with this
requirement in good faith will file a Joint Final
Pretrial Statement listing far more agreed facts
and principles of law than those that remain for
determination at trial;

3. tag, mark, identify, examine,
copy, and list all original trial exhibits (including
actual document exhibits) that any party will
offer in evidence or otherwise tender to any
witness during trial [M.D. Fla. R. 3.06(b)(3) and
3.07(a)]; prepare and exchange a final exhibit list
bearing a description identifying each exhibit and
sponsoring witness [M.D. Fla. R. 3.07(b)]; it is
anticipated that counsel will agree to the
admission of the bulk of the opposing parties’
exhibits without objection, and shall designate on
the exhibit list the exhibits which the Court may
admit without objection at trial. Absent good
cause, the Court will not receive in evidence over
objection any exhibits - including charts,
diagrams, and demonstrative evidence — not
presented to opposing counsel or unrepresented
parties for inspection and copying at the required

meeting, or not listed in the joint final pretrial -

statement. Photographs of sensitive exhibits (.e.,
guns, drugs, valuables) and of non-documentary
evidence, and reductions of documentary exhibits
larger than 8 %” by 14” to be substituted for
original exhibits after conclusion of the trial, must
be presented to opposing counsel for examination
at the meeting to prepare the Joint Final Pretrial
Statement. Objections to such photographs or

reductions of exhibits must be listed in the Joint
Final Pretrial Statement. The parties are advised
that the design of certain courtrooms may
preclude the use of large exhibits and posters in a
jury trial. The parties are directed to contact the
trial judge’s courtroom deputy to discuss exhibits
and equipment to be used during trial;

4, exchange the names and
addresses of all witnesses, and state whether they
will likely be called; and

5. prepare a Joint Final Pretrial
Statement strictly in conformance with M.D. Fla.
R. 3.06(c) and this order.

B. The Joint Final Pretrial Statement

1, Form of Joint Final Pretrial
Statement — On or before the date established in
the above table, the parties shall file a Joint Final
Pretrial Statement that strictly conforms to the
requirements of M.D. Fla. R. 3.06(c) and this
order. This case must be fully ready for trial at
the time that the Joint Final Pretrial
Statement is due. Lead trial counsel for all
parties, or the parties themselves if
unrepresented, shall sign the Joint Final Pretrial
Statement. The Court will strike pretrial
statements that are unilateral, incompletely
executed, or otherwise incomplete. Inadequate
stipulations of fact and law will be stricken.
Sanctions may be imposed for failure to comply,
including the striking of pleadings. At the
conclusion of the final pretrial conference, all
pleadings are deemed to merge into the Joint
Final Pretrial Statement, which will control the
course of the trial. M.D. Fla. R. 3.06(e); Fed. R.
Civ. P. 16(e).

2. Exhibit List — Exhibit lists are
available on www.flmd.uscourts.gov. Unlisted
exhibits will not be received into evidence at trial,

‘except by order of the Court in the furtherance of

justice. See M.D. Fla. R. 3.06(e). The Joint Final
Pretrial Statement must attach each party’s
exhibit list on the approved form listing each
specific objection (“all objections reserved” does
not suffice) to each numbered exhibit that
remains after full discussion and _ stipulation.
Objections not made — or not made with
specificity — are waived.
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3. Witness List — On the witness
list. required by M.D. Fla. R. 3.06(c)(5), the
parties and counsel shall designate which
witnesses will likely be called, and also designate
which witnesses may be called. Absent good
cause, the Court will not permit testimony from
unlisted witnesses at trial over objection. This
restriction does not apply to true rebuttal
witnesses (i.e., witnesses whose testimony could
not reasonably have been foreseen to be
necessary). Records custodians may be listed,
but will not likely be called at trial, except in the
rare event that authenticity or foundation is
contested. For good cause shown in compelling
circumstances, the Court may permit presentation
of testimony in open court by contemporaneous
transmission from a different location. Fed. R.
Civ. P. 43(a).

4. Depositions - The Court
encourages stipulations of fact to avoid calling
unnecessary witnesses. Where a stipulation will
not suffice, the Court permits the use of
videotaped depositions. At the required meeting,
counsel and unrepresented parties shall agree
upon and specify in writing in the Joint Final
Pretrial Statement the pages and lines of each
deposition (except where used solely for
impeachment) to be published to the trier of fact.
The parties shall include in the Joint Final Pretrial
Statement a page-and-line description of any
testimony that remains in dispute after an active
and substantial effort at resolution, together with
argument and authority for each party’s position.
The parties shall prepare, for submission and
consideration at the final pretrial conference or
trial, edited and marked copies (as to the portion
offered by each party) of any depositions or
deposition excerpts which are to be offered in
evidence.

5. Joint Jury Instructions,
Verdict Form, Voir Dire Questions — In cases
to be tried before a jury, counsel shall file a single
jointly-proposed set of jury instructions,
together with a single jointly-proposed jury
verdict form. M.D. Fla. R. 5.01(c). The parties
should be considerate of their juries, and
therefore should submit short, concise special
verdict forms. The Court prefers pattern jury
instructions approved by the United States Court

of Appeals for the Eleventh Circuit. A party may
include at the appropriate place in the single set
of jointly-proposed jury instructions a contested
charge, so designated with the name of the
requesting party and bearing at the bottom a
citation of authority for its inclusion, together
with a summary of the opposing party’s
objection. The Court will deny outright a
proposed instruction that is “slanted” in any way.
The Court requests that the parties, where
possible, e-mail the single set of jury
instructions and verdict form, preferably in
Word® format to the Chambers mailbox.
Each party who wishes for the Court to ask
specific questions of the venire during voir dire
may also include in the Joint Final Pretrial
Statement a single joint list of proposed
questions.

C. Coordination of Joint Final Pretrial
Statement — All counsel and parties are
responsible for filing a Joint Final Pretrial
Statement in full compliance with this order.
Plaintiff's counsel (or plaintiff if all parties are
proceeding pro se) shall have the primary
responsibility to coordinate compliance with the
sections of this order that require a meeting of
lead trial counsel and unrepresented parties in
person, and the filing of a Joint Final Pretrial
Statement and related material. See M.D. Fla. R.
3.10 (relating to failure to prosecute). If the
plaintiff is proceeding pro se, defense counsel
shall coordinate compliance. If counsel is unable
to coordinate such compliance, counsel shall
timely notify the Court by written motion or
request for a status conference.

D. Trial Briefs and Other Materials

1. Trial Briefs — In the case of a
non-jury trial, on or before the date established
above for filing “All Other Motions and Briefs,”
the parties shall file and serve a trial brief with
proposed findings of fact and conclusions of law.
The parties may file a trial brief on or before the
same date in the case of a jury trial.

2. Exhibit Notebook — On the first
day of a jury trial or non-jury trial, the parties
shall provide to the Court a bench notebook
containing marked copies of all exhibits. The
parties may contact the Courtroom Deputy Clerk
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for the trial judge to determine whether this
requirement may be waived.

IV. MEDIATION

A. Purpose — To minimize costly pretrial
procedures in a case that may be equitably settled,
and to secure the just, speedy, and inexpensive
determination of this action, all parties shall
participate in good faith in  court-annexed
mediation. See Fed. R. Civ. P. 1; Fed. R. Civ. P.
16(a)(5); M.D. Fla. R. 1.01(b), 9.01(b).

B. Last Date to Mediate — The parties shall
complete the mediation conference on or before
the mediation date set forth earlier in the above
table. Despite M.D. Fla. R. 9.05(d), neither the
mediator nor the parties have authority to
continue the mediation conference beyond this
date except on express order of the Court. In any
Track Three case, complex case, or case
involving multiple parties, the mediator has the
authority to conduct the mediation in a series of
sessions and in groups of parties so that mediation
is complete by the last date to mediate.

Cc. Mediator’s Authority — The mediator
shall have all powers and authority to conduct a
mediation and to settle this case as are described
in Chapter Nine of the Local Rules, except as
limited by this order. The mediation shall
continue until adjourned by the mediator. In
order to coordinate the mediation conference, the
mediator may set an abbreviated scheduling
conference prior to the scheduled mediation. At
such time, the mediator may designate one or
more coordinating attorneys who shall be
responsible for conferring with the mediator
regarding the mediation conference. If necessary,
the coordinating attorney may coordinate the
rescheduling of a mediation conference within
the time allowed in this order.

D. General Rules Governing Mediation
Conference
1. Case Summaries — Not less than

two days prior to the mediation conference, each
party shall deliver to the mediator a written
summary of the facts and issues of the case.

2. Identification of Corporate
Representative — As part of the written case
summary, counsel for each corporate party shall
state the name and general job description of the
employee or agent who will attend and
participate with full authority to settle on behalf
of the corporate party.

3. Attendance Requirements and
Sanctions — Each attorney acting as lead trial
counsel, and each party (and in the case of a
corporate party, a corporate representative) with
full authority to settle, sha// attend and participate
in the mediation conference. In the case of an
insurance company, the term “full authority to
settle” means authority to settle for the full value
of the claim or policy limit. The Court will
impose sanctions upon lead counsel and parties
who do not attend and participate in good faith in
the mediation conference,

4. Authority to Declare Impasse —
Participants shall be prepared to spend as much
time as may be necessary to settle the case. No
participant may force the early conclusion of a
mediation because of travel plans or other
engagements. Only the mediator may declare an
impasse or end the mediation.

5. Restrictions on Offers to
Compromise -— Evidence of offers to
compromise a claim is not admissible to prove
liability for or invalidity of the claim or its
amount. Fed. R. Evid. 408 (includes evidence of
conduct or statements made in compromise
negotiations); M.D. Fla. R. 9.07(b). All
discussion, representations and statements made
at the mediation conference are privileged
settlement negotiations. Except in a
supplemental proceeding to enforce a settlement
agreement, nothing related to the mediation
conference shall be admitted at trial or be subject
to discovery. M.D. Fla. R. 9.07; Fed. R. Evid.
408. A communication between a party and a
mediator during a private caucus is also
confidential, unless the party tells the mediator
that it is not.

E. Rate of Compensation — The mediator
shall be compensated as per M.D. Fla. R. 9.02(f),
or at a rate stipulated by the parties in advance of
mediation and borne equally by the parties. Upon
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motion of the prevailing party, the party’s share
may be taxed as costs in this action.

F, Settlement and Report of Mediator—A
settlement agreement reached between the parties
shall be reduced to writing and signed by the
parties and their attorneys in the presence of the
mediator. See also M.D. Fla. R. 9.06(b) and 3.08.
Within seven days of the conclusion of the
mediation conference, the mediator shall file and
serve a written mediation report stating whether
all required parties were present, whether the case
settled, and whether the mediator was forced to
declare an impasse. See M.D. Fla. R. 9.06. The
mediator may report any conduct of a party or
counsel that falls short of a good faith effort to
resolve the case by agreement. See M.D. Fla. R.
9.05(e), 9.06(a).

V. FINAL PRETRIAL CONFERENCE

A. Lead Trial Counsel and Parties — If this
order does not set a final pretrial conference date,
the Court may later set a final pretrial conference
on notice. Lead trial counsel and local counsel
for each party, together with any
unrepresented party, must attend the final
pretrial conference in person unless previously
excused by the Court. See M.D. Fla. R. 3.06(d);
Fed. R. Civ. P. 16(d).

B. Substance of Final Pretrial Conference
— This case must be fully ready for trial at the time
that the joint final pretrial statement is due. At
the final pretrial conference, all counsel and
parties must be prepared and authorized to
accomplish the purposes set forth in Fed. R. Civ.
P. 16 and Local Rule 3.06, including the
formulation and simplification of the issues; the
elimination of -frivolous claims or defenses;
admitting facts and documents to avoid
unnecessary proof; stipulating to the authenticity
of documents; obtaining advance rulings from the
Court on the admissibility of evidence;
settlement and the use of special procedures to
assist in resolving the dispute; disposing of
pending motions; establishing a reasonable limit
on the time allowed for presenting evidence; and

 

' This case may be reassigned to a visiting district
judge at any time. As stated in paragraph III (B)(1)
above, this case should be fully ready for trial at the
time that the Joint Final Pretrial Statement is due. In

such other matters as may facilitate the just,
speedy, and inexpensive disposition of the action.
See Fed. R. Civ. P. 16(c)-(d).

VI. SANCTIONS

The Court will impose sanctions on any
party or attorney: 1) who fails to attend and to
actively participate in the meeting to prepare the
joint pretrial statement, or who refuses to sign and
file the joint pretrial statement; 2) who fails to
attend the final pretrial conference, or who is
substantially unprepared to participate; 3) who
fails to attend the mediation and actively
participate in good faith, or who attends the
mediation without full authority to negotiate a
settlement, or who is substantially unprepared to
participate in the mediation; or 4) who otherwise
fails to comply with this order. Sanctions may
include reasonable attorney’s fees and costs, the
striking of pleadings, the entry of default, the
dismissal of the case, and a finding of contempt
of court. See Fed. R. Civ. P. 16(f) and 37; M.D.
Fla. R. 9.05(c), (e); 28 U.S.C. § 1927.

VII. =TRIAL

A. Trial Before District Judge — A case
scheduled for trial before a United States District
Judge normally will be called for trial on the first
day of the trial term indicated in the above table,
or as soon after that date as is possible in light of
the Court’s felony and civil trial calendar.' Cases
not reached for trial will be carried over to the
following month, and issued subpoenas will
continue in force. Counsel, parties, and witnesses
Shall be available on twenty-four hours’ notice
for trial after the beginning of the trial term. A
different district judge or visiting judge may try
the case. Local Rule 1.03(d). The case may be
set for trial in the Orlando Division, Tampa
Division, Fort Myers Division, Ocala Division, or
Jacksonville Division of the Middle District of
Florida. Local Rule 1.02(e). Absent a showing
of good cause, any party whose turn it is to
provide evidence will be deemed to have rested
if, during the hours designated for trial, the party
has no further evidence or witnesses available.

unusual and extraordinary circumstances, the Court
may re-notice this case for trial shortly before the first
day of the trial term if necessary to accommodate the
trial schedule of the district judge or a visiting judge.
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B. Trial Before Magistrate Judge — A case
scheduled for trial before a United States
Magistrate Judge will be called for trial on a date
certain. With respect to a civil case that remains
pending before a district judge as of the date of
this order, the United States District Judges of the
Middle District of Florida wish to afford the
parties the opportunity to consent to proceed
before a magistrate judge. Consent must be
unanimous. The Magistrate Consent form can
be found on the Court's website at
http://www.flmd.uscourts. A United States
Magistrate Judge is available pursuant to 28
U.S.C. § 636(c) and Fed. R. Civ. P. 73(a) to
conduct all further proceedings in this case (or
specified motions in this case), to conduct a jury
or non-jury trial beginning on a date certain, and
to enter final judgment. A party may appeal a
final judgment of a magistrate judge to the United
States Court of Appeals for the Eleventh Circuit
in the same manner as an appeal from the district
court. 28 U.S.C. § 636(c)(3); Fed. R. Civ. P. 73.
A party is free to withhold consent without
adverse substantive consequences. 28 U.S.C. §
636(¢)(2); Fed..R. Civ..P.73(b).

C. Settlement — Counsel shall immediately
notify the Court upon settlement of any case.
M.D. Fla. R. 3.08. The parties are jointly and
severally liable for jury costs for settlement after
jurors have been notified to appear without
sufficient time to cancel the appearance.
Regardless of the status of settlement
negotiations, the parties shall appear for all
scheduled hearings, including the final pretrial
conference and for trial, absent the filing of a
stipulation of dismissal signed by all parties who
have appeared in the action (or notice of dismissal
if prior to answer and motion for summary
judgment). Fed. R. Civ. P. 41(a).

DONE and ORDERED in Fort Myers,

Florida this Stay of December, 2018.

JOHN E. STEELE
NITED STATES DISTRICT JUDGE

     
 
